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CO 526 Rev. 5/2018

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

VS. Criminal Case No.; 24-CR-396-1 (TJIs)

DAPHNE KASPEREK

WAIVER OF TRIAL BY JURY

With the consent of the United States Attorney and the approval of the Court, the defendant

waives his right to trial by jury.

/s/ Daphne Kasperek

Defendant

Nickolas Smith

Counsel for Defendant

I consent:

wah WMigntian

Assistant United States attorney

C/

Timothy J. Kelly

United States District Judge
